                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
vs.                                                    )    Case No. 16-00181-01-CR-W-GAF
                                                       )
ROBERT RYAN HICKS,                                     )
                                                       )
                               Defendant.              )

                                             ORDER

       On December 4, 2017, Defendant appeared pursuant to Fed.R.Crim.P. 11, Local Rule
72.1(j)(27), and 28 U.S.C. § 636 and entered a plea of guilty to the lesser included charge as
contained in Count One of the Indictment (doc. 1) before United States Magistrate Judge John T.
Maughmer. On December 4, 2017, Judge Maughmer issued his Report and Recommendation
(doc. 145). Objections were due on or before December 18, 2017. No objections were filed.
       Upon careful and independent review, this Court finds that defendant’s plea was
knowledgeable and voluntary and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. Accordingly, this Court hereby
adopts and incorporates as its own Opinion and Order the Report and Recommendation of
United States Magistrate Judge John T. Maughmer.
       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and
defendant is adjudged guilty. The defendant’s sentencing hearing will be scheduled and the
parties notified of the date and time of sentencing.
       SO ORDERED.

                                                       s/ Gary A. Fenner
                                                       GARY A. FENNER, JUDGE
                                                       UNITED STATES DISTRICT COURT

DATED: December 20, 2017




       Case 4:16-cr-00181-GAF           Document 154       Filed 12/20/17    Page 1 of 1
